UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF MISSOURI

Defendant

. )
W, (i Lah )
Plaintiff )

) _

Vs. x ) CaseNo. 22 6K -9V 0OYF ©
Green conte, Juvenile, Cort

Judge a Cpe cen )
)
)

APPLICATION FOR LEAVE TO FILE ACTION
WITHOUT PAYMENT OF FEES
WITH AFFIDAVIT OF FINANCIAL STATUS IN SUPPORT
I state that | am unable to pay the fees to file an action against the defendant(s) in this case
and that the actions of the defendant(s) have harmed me.

Attached is my Affidavit of Financial Status in support of my application to the court for

leave to file a civil action without payment of costs.

Plaintiff

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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF MISSOURI

Willem 2 Carrol

)
Plaintiff )
5 _
VS. ) Case No. 23 b6k- JLo CO)
Missoeri Childrens D ju, ) O 8
Green Cov wenlte Covet”
efendant )

oS AFFIDAVIT OF FINANCIAL STATUS

1, Ww Vr gana Curcot , declare that I am the plaintiff in this case, that because of my

poverty I am unable to pay the costs of these proceedings, and that believe I am entitled to relief.
I further swear that the responses which I have made to the questions below and the
information I have given relating to my ability to pay the costs of commencing and prosecuting this
action are true.
L MARITAL STATUS AND PERSONAL DATA

A. sinete] A Married{ _| Separated _| Divorced4_|

B. Name of Spouse Al A

Cc, Age of plaintiff, petitioner or complainant: Shy-cac S$
D. Age of spouse: iV A
E. Address of plaintiff, petitioner or complainant:

U3t Flerdia St, 2Pting Del d WU),
Telephone: YI97- H7O-664 2

F, Address of spouse: NV A

Telephone: NV A

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G. State name or names of dependents who live with you, their age, address,
relationship, and how much of their monthly support you provide:

Il. EMPLOYMENT 4
remedt
A. Name of employer: Fel f Eo los vl Contract big. oad c
Co ‘Hey

Employer's telephone: Length of employment: 4

Job title or description:

Net Income: Monthly $ Weekly $
Gross Income: Monthly $ LAA) Weekly $ LIG 7,702

Does employer provide health insurance: Yes|__| nol

If employer provides health insurance, describe coverage:

f

B. Previous employment (Answer only if presently unemployed).

Name of employer:

Address of employer:
Employer's telephone: Length of employment:

Job title or description:

Net Income: Monthly $ Weekly $
Gross Income: Monthly $ Weekly $
'
C, Employment of spouse: *

Name of employer:

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Address of employer:

Employer's telephone: Length of employment:

Job title or description:

Net Income: Monthly $ - Weekly $
Gross Income: Monthly $ Weekly §

IIL. FENANCIAL STATUS

(Answer questions on behalf of both the plaintiff, petitioner or complainant and spouse).
A. Owner of real property? i Yed_| . ndi+~

If yes - Description:

Address:

In whose name?

Estimated value:

Total amount owed:

Owed to:

Annual income from property:

B. Owner of automobile: vel Nol._|

If yes - Number of automobiles owned: l

Make Model Year 14 g 2.

Make Model Year

In whose name registered? Ih | Lt gar ? Are? +t

Present value:

Amount owed on the automobile(s): Ce.

Owed to:

Monthly payment(s):

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C. Cash on hand: (Include checking and savings accounts)
s_ 77.00

List names and addresses of banks and associations: lV bf

Please do not state account numbers:

Dd. Have you received within the past 12 months any money from any of the
following sources:
Yes
Rent payments, interest or dividends:

Pensions, trust funds, annuities or life
insurance payments?

Gifts or inheritances?

Welfare payments?

ADC or other governmental child support?
Unemp!oyment benefits?

Social Security benefits?

MNOOOOOO
MOOOUUOUU Ue

Other sources?

FE. If the answer to any item in D above was "Yes", describe each source of
money and state the amount received from each during the past 12 months:

IV. OBLIGATIONS

A. Monthly rental on house or apartment: q 2 Sy OS

B. Monthly mortgage payments on house: 2.

Amount of equity in house: 2

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Cc. Monthly mortgage payments on other properties: $ Q

Amount of equity in other properties: $. ©

D. Household expenses:

Monthly grocery expense: 3 0© OO

Monthly utilities:

Gas:
Electric:
Water:
Other: (Specify) bi LL “LENO 100 ut GO OD
E. Other debts and miscellaneous monthly expenses:
‘TO WHOM OWED AND FOR WHAT REASON INCURRED? MONTHLY BALANCE DUE

PAYMENTS

V. OTHER INFORMATION PERTINENT TO FINANCIAL STATUS

(include information regarding stocks, bonds, savings bonds, either individually or jointly owned).

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I understand that a false statement or answer to any question in this affidavit will subject me

to penalties of perjury.

Ef 3/7/25

VERIFICATION

State of IAs ASnon:

Nome Smee See

County of CAreene

1, being first duly sworn under oath, state that I know the contents of this affidavit and that
the information contained in the affidavit is true to the best of my knowledge and belief.

Cx fee

“AJA
Signature of Plaintiff or Plaintiffs

All parties must verify xe

ce YNaceh
SUNSCRIBED AND SWORN TO before me this__C__ day of __2Plage l,, 20257

O%“G U Ox LV. cle

Notary Public
SHARON ANN LANGER t
Noter Tyee No Maas i
4 STATE OF County
t — 263] My Commission Expires ny qf, 202%
My Commission Expires Commission #23248197 i

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